     2:22-cv-01307-RMG         Date Filed 03/06/23      Entry Number 100       Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

Nautilus Insurance Company,           )                     Civ. No. 2:22-cv-1307-RMG
                                      )
                    Petitioner,       )
                                      )               STATUS REPORT BY DEFENDANT
       v.                             )                   RICHARD ALEXANDER
                                      )                      MURDAUGH, SR.
Richard Alexander Murdaugh, Sr., Cory )
Flemming, Moss & Kuhn, P.A., Chad     )
Westendorf, and Palmetto State        )
Bank                                  )
                                      )
                    Defendants.       )
____________________________________)

       Defendant Richard Alexander Murdaugh, Sr., through his undersigned attorneys, hereby

provides a status report pursuant to the Court’s order dated January 13, 2023 (ECF No. 99). On

March 3, 2023, Defendant’s murder trial concluded when he was sentenced to two consecutive life

sentences. Defendant currently is incarcerated at Kirkland Reception and Evaluation Center

pending assignment to a prison, which is expected to take approximately 45 days. Counsel’s

ability to communicate with Defendant during this is limited, but counsel expects to be able to

provide a more substantive update to the Court before the expiration of the stay of this matter on

April 3, 2023.

                                             Respectfully submitted,

                                             s/Phillip D. Barber
                                             Richard A. Harpootlian (Fed. ID No. 1730)
                                             Phillip D. Barber (Fed. ID No.12816)
                                             RICHARD A. HARPOOTLIAN, P.A.
                                             1410 Laurel Street (29201)
                                             Post Office Box 1090
                                             Columbia, SC 29201
                                             (803) 252-4848
                                             (803) 252-4810 (facsimile)
                                             rah@harpootlianlaw.com
                                             pdb@harpootlianlaw.com


                                               -1-
    2:22-cv-01307-RMG      Date Filed 03/06/23   Entry Number 100    Page 2 of 2




                                      James M. Griffin, Fed. ID No. 1053
                                      Margaret N. Fox, Fed. ID No. 10576
                                      GRIFFIN DAVIS, LLC
                                      4408 Forest Dr., Suite 300 (29206)
                                      P.O. Box 999 (29202)
                                      Columbia, South Carolina
                                      (803) 744-0800
                                      jgriffin@griffindavislaw.com
                                      mfox@griffindavislaw.com

                                      ATTORNEYS FOR PLAINTIFF

March 6, 2023
Columbia, South Carolina




                                        -2-
